                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                            SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                          Plaintiff,                 )
                                                     )
       vs.                                           )      No. 15-05002-03-CR-SW-BCW
                                                     )
VIRGIL ORIN BIRD, JR.,                               )
                                                     )
                          Defendant.                 )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count Seven of the

Indictment filed on January 20, 2015, is now Accepted and the Defendant is Adjudged Guilty of

such offense. Sentencing will be set by subsequent Order of the Court.




                                                            /s/ Brian C. Wimes
                                                            BRIAN C. WIMES
                                                     UNITED STATES DISTRICT JUDGE




Date: February 2, 2016




      Case 3:15-cr-05002-BCW           Document 102        Filed 02/02/16      Page 1 of 1
